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AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                           UNITED STATES DISTRICT COURT                           USDC SDNY
                                                                                  DOCUMENT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                                  ELECTRONICALLY FILED
                                                                                  DOC #:
 UNITED STATES OF AMERICA                                                         DATE FILED: 11/1/2020
                                                          Case No. 1:16‐cr‐321

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

                                                          (COMPASSIONATE RELEASE)
 Dominique Woods


        Upon motion of       the defendant      the Director of the Bureau of Prisons for a

reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable

factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

Sentencing Commission,

IT IS ORDERED that the motion is:

      GRANTED

            The defendant’s previously imposed sentence of imprisonment of              is reduced to

       . If this sentence is less than the amount of time the defendant already served, the sentence

is reduced to a time served; or

            Time served.

        If the defendant’s sentence is reduced to time served:

                       This order is stayed for up to fourteen days, for the verification of the

                       defendant’s residence and/or establishment of a release plan, to make

                       appropriate travel arrangements, and to ensure the defendant’s safe

                       release. The defendant shall be released as soon as a residence is verified,

                       a release plan is established, appropriate travel arrangements are made,
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               and it is safe for the defendant to travel. There shall be no delay in

               ensuring travel arrangements are made. If more than fourteen days are

               needed to make appropriate travel arrangements and ensure the

               defendant’s safe release, the parties shall immediately notify the court and

               show cause why the stay should be extended; or

               There being a verified residence and an appropriate release plan in place,

               this order is stayed for up to fourteen days to make appropriate travel

               arrangements and to ensure the defendant’s safe release. The defendant

               shall be released as soon as appropriate travel arrangements are made and

               it is safe for the defendant to travel. There shall be no delay in ensuring

               travel arrangements are made. If more than fourteen days are needed to

               make appropriate travel arrangements and ensure the defendant’s safe

               release, then the parties shall immediately notify the court and show cause

               why the stay should be extended.

     The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

     Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”

of     probation or     supervised release of         months (not to exceed the unserved

portion of the original term of imprisonment).

            The defendant’s previously imposed conditions of supervised release apply to

        the “special term” of supervision; or

            The conditions of the “special term” of supervision are as follows:


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           The defendant’s previously imposed conditions of supervised release are unchanged.

           The defendant’s previously imposed conditions of supervised release are modified as

       follows:



    DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the

United States Attorney to file a response on or before        , along with all Bureau of Prisons

records (medical, institutional, administrative) relevant to this motion.

    DENIED after complete review of the motion on the merits.

           FACTORS CONSIDERED (Optional)

       The Court conducted a complete review of the motion on the merits. The following

summarizes some of the prominent considerations that influenced the Court's decision. In

considering all of the § 3553(a) factors, the Court does not believe that a reduction in the

defendant's sentence is warranted. While the factor related to the need for Mr. Woods to receive

medical care arguably weighs somewhat more heavily in favor of a lesser sentence now, the

nature of his crime was very serious. The need for personal deterrence for the defendant remains

high: he was illegally possessed a firearm shortly after his release from prison from another

firearms-related offense. And, unfortunately, the defendant's prior violation of the terms of his

supervised release leaves the Court uncertain that the proposed term of home detention will be

effective. The Court’s assessment of all of the other § 3553(a) sentencing factors, including the

need for general deterrence, all continue to weigh heavily against a modification of his sentence

now. In sentencing Mr. Woods, the Court was very conscious of the admonition of § 3553 to

“impose a sentence sufficient, but not greater than necessary” to comply with the purposes of the


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statute. The sentence imposed by the Court was appropriate for Mr. Woods at the time and the

Court’s assessment of the § 3553(a) factors do not yield a different conclusion today,

notwithstanding COVID-19 and its complications. Moreover, while the Court is very

sympathetic to Mr. Woods' health concerns and the conditions in the BOP, the Court observes

that he is in an age cohort that has shown less likelihood of severe adverse consequences from

COVID-19. See, e.g., https://data.cdc.gov/NCHS/Provisional-COVID-19-Death-Counts-by-Sex-

Age-and-S/9bhg-hcku (Last visited May 25, 2020).

           DENIED WITHOUT PREJUDICE because the defendant has not exhausted all

administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since

receipt of the defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated:November 1, 2020

New York, New York
                                                            Gregory H. Woods
                                                     UNITED STATES DISTRICT JUDGE




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